Case 1:18-cV-0067O-A.]T-.]FA Document 1 Filed 06/05/18 Page 1 of 8 Page|D# 1

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

TRUSTEES OF THE PLUMBERS AND
PIPEFITTERS NATIONAL PENSION FUND
103 Oron@co Street

Alexandria, VA 22314

Plaintiffs,

}

)

)

)

)

)

}

v. ) Civil Action NO.
)

PERFORMANCE AIR CONDITIONING, INC. )
52 Brook Road )
Needham, MA 02494 )
)

)

)

)

)

)

)

)

)

Serve:

Registered Agent & President
Claire M. Higson

304 Concord Road

Bedford, MA 01730

Defendant.

 

COMPLAINT
(FOR BREACH OF COLLECTIVE BARGAINING AGREEMENT;
TO COLLECT CONTRIBUTIONS DUE TO PLAINTIFF FUND
AND TO ENJOIN VIOLATIONS OF THE TERMS OF AN
EMPLOYEE BENEFIT PLAN}
PARTIES

1. Plaintiffs Trustees Of the Plumbers & Pipefitters
National Pension Fund (hereinafter the "National Pension Fund“)
are the trustees of a lnulti-employer' employee benefit plan. as
those terms are defined in Sections 3(3) and 3(37) cf the Employee
Retirement InCOme Security' Act Of 1974, (ERISA), 29 U.S.C. §§
1002(3) and (37). The National Pension Fund is established and
maintained by a Restated Agreement and Declaration cf Trust and by

Collective Bargaining' Agreement between the United, Association

Local Union NO. 537 and the Defendant. The National Pension Fund

Case 1:18-cV-0067O-A.]T-.]FA Document 1 Filed 06/05/18 Page 2 of 8 Page|D# 2

is administered at 103 Oronoco Streetr Alexandria, Virginia
22314.

2. Defendant Performance Piping, Inc. is a
Massachusetts corporation existing under the laws of the
Commonwealth of Massachusetts with an office located in Needham,
Massachusetts. Defendant transacts business in the Commonwealth
of Massachusetts as a contractor or subcontractor in the plumbing
and pipefitting industry and at all times herein was an "employer
in an industry affecting commerce" as defined in Sections 501(1),

(3) and 2(2) of the Labor-Management Relations Act (LMRA), 29

U.S.C. §§ 142(1), (3) and 152(2); S€CtiOnS 3(5), (9}, (ll), (12)
and (14) Of ERISA, 29 U.S.C. §§ 1002(5), (9), (ll), (12) and
(14); and Section 3 of the Multiemployer Pension Plan

Amendments Act of 1980, 29 U.S.C, § 1001a.
JURISDICTION

3. This Court has jurisdiction of this action under
Sections 502 and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, and
under Section 301 of LMRA, 29 U.S C. § 185(a). This is an action
for breach of a Collective Bargaining Agreement between an
employer' and labor organizations representing' employees in an
industry affecting commerce, an action to collect contributions
due to an employee benefit plan under the terms of the Collective
Bargaining Agreement, and an action to enjoin the violation of the
terms of an employee benefit plan.

COUNT I
4. Defendant is signatory to the Collective

Bargaining Agreement with United Association Local Union No. 537

Case 1:18-cV-0067O-A.]T-.]FA Document 1 Filed 06/05/18 Page 3 of 8 Page|D# 3

establishing the terms and conditions of employment for journeymen
and apprentice plumbers and pipefitters employed by the Defendant.

5. Pursuant to the Collective Bargaining .Agreement,
Defendant agreed to pay to the National Pension Fund certain sums
of money for each hour worked_ by employees of the Defendant
covered by the Collective Bargaining Agreement.

6. Defendant employed certain employees covered under
the Collective Bargaining Agreement during this period and
continuing.

7. Defendant has failed to make contributions due to
the National Pension Fund for work performed at Defendant's
request for the months of June 2017 through April 2018 on behalf
of members in Local 537’s jurisdiction.

8. Defendant has failed to submit reports to the
National Pension Fund indicating the amounts owed for the months
of June 2017 through April 2018.

9. Pursuant to the terms of the Collective Bargaining
Agreement, Defendant is obligated to pay these contributions owed
to the National Pension Fund.

10. Pursuant to Article VI, Section 6 of the Restated
Agreement and Declaration of Trust establishing the Plumbers and
Pipefitters National Pension Fund, when an employer fails to file
the properly completed report forms, in order to determine the
amounts due the Fund. is authorized to project the delinquent
amount using the following formula:

The Trustees of may' project as the
amount of the delinquency (a} the average of

the monthly' payments actually' made by the
Employer for the last three (3) months for

Case 1:18-cV-0067O-A.]T-.]FA Document 1 Filed 06/05/18 Page 4 of 8 Page|D# 4

which the payments were made, or (b) the
average of monthly payments made by the
Employers for the last twelve {12) months for
which payments were made, or (c) the average
of the monthly payment documented by the
remittance reports submitted by the Employer
without payments for the last three (3)
months, or (d) the average of the monthly
payment documented by remittance reports
submitted. by the Employer without payments
for the last twelve (12) months, or (e) the
average monthly' contributions determined by
(i) certified payroll records required under
any applicable federal, state or local law or
(ii) an audit of the payroll and wage records
of an Employer.

11. Defendant is bound to the Restated Agreement and
Declaration of Trust.

12. Using report forms submitted for the last 3 months
for which the Defendant submitted reports and/or contributions,
the projected delinquency for the months listed‘ in, paragraph
number 8 is $2,277.00, calculated as follows:

Local 537 - June 2017 through April 2018:

03/17 ~ $ 190.20
04/17 - $ 174.60
05/17 - $ 256.20
$ 621.00 divided by 3 = $207.00 per month
[$207.00 x 11 months (06/17 through 04/18) = $2,277.00]
13. Pursuant to the calculations abover Defendant owes

to the National Pension Fund contributions for the months of June
2017 through April 2018 in the total amount of $2,277.00.

14. Pursuant to Article VI, Section 5 of the Restated
Agreement and Declaration of Trust establishing the National
Pension Fund, an Employer who fails to pay the amounts required
by the Collective Bargaining Agreement on time shall be obligated

to pay liquidated damages as follows:

Case 1:18-cV-0067O-A.]T-.]FA Document 1 Filed 06/05/18 Page 5 of 8 Page|D# 5

lf an Employer has failed to pay the
amounts due when such amounts become due and
payable, that Employer shall_ be considered
delinquent. The Trustees may assess
liquidated damages against any delinquent
employer in the amount of 10% of the amount
due if payment is not received by the due
date. . . .

15. Pursuant to this provision, Defendant is obligated
to the National Pension Fund in the amount of $227.70 in
liquidated damages for late payments for the months of June 2017
through April 2018.

WHEREFORE, in Count l Plaintiff Fund prays judgment as
follows:

A. ln the total amount of $2,277.00 for contributions
due for work performed for the months of June 2017 through April
2018, plus interest assessed at a rate of 12% per annum pursuant
to the Trust Agreement on the amount due from the date of
delinquency' until the date of payment, costs, and, reasonable

attorneys’ fees, pursuant to 29 U.S.C. § ll32(g)(2) and 28 U.S.C.

§ 1961.

B. ln the amount of $227.70 for liquidated damages
assessed on late payments for the months of June 2017 through

April 2018, plus costs and reasonable attorneys' fees pursuant to

29 U.S.C. § ll32(g).

C_ For contributions to the National Pension Fund
which become due after the filing of this lawsuit and up to the
date of judgment, plus interestr liquidated damages, costs and

attorneys’ fees pursuant to 29 U.S.C. § 1132(g)(2) and 28 U.S.C.

§ 1961.

Case 1:18-cV-0067O-A.]T-.]FA Document 1 Filed 06/05/18 Page 6 of 8 Page|D# 6

D. For such further relief as the Court may deem
appropriate.
COUNT ll
16. This Court has jurisdiction of this action under
§§ 502(a){3), (f), (g) and 515 of ERISA Of l974, 29 U.S.C. §§
1132(a)(3), (f), (g) and 1145. This is an action. to enjoin

violations of the terms of an employee benefit plan.

17. Plaintiffs hereby adopt, incorporate and restate
in Count ll paragraphs l through 15.

18. Defendant, pursuant to the Restated Agreement and
Declaration of Trust establishing the Plaintiff employee benefit
plan, agreed to make timely contributions to the National Pension
Fund in the amounts and on the dates required by its Collective
Bargaining Agreement with United Association Local Union No. 537
in order to maintain the plan of benefits provided through the
Fund.

19. Defendant has repeatedly failed to submit timely
reports or contributions to the Fund in violation of the
requirements of the aforementioned Restated Agreement and
Declaration of Trust.

WHEREFORE, in Count ll Plaintiff Fund prays judgment as
follows:

A. For a Court Order enjoining violations of `the
terms of the Plaintiff employee benefit plan and requiring

Defendant to submit timely contributions and reports to the

Plaintiff Fund.

Case 1:18-cV-0067O-A.]T-.]FA Document 1 Filed 06/05/18 Page 7 of 8 Page|D# 7

appropriate.

302313¢1

such. further relief as the Court may deem

Respectfully submitted,

577 /<W

John R Harney, Bar No.
Counsel for Plaintiff Fund
O’Donoghue & O'Donoghue LLP
5301 Wisconsin Ave., N.W.

Suite 800

Washington, DC 20015
Telephone No.; (202) 362-0041
Facsimile No.: (202) 362~2640

jharney@odonoghuelaw.com

few of)»£@/¢Q/?@UL

Rebecca RicHardson Bar Nb. 80855
Counsel for Plaintiffs
O'Donoghue & O'Donoghue LLP

5301 Wisconsin Avenue, N.W.

 

Suite 800
Washington, D.C. 20015
Telephone No.: (202) 362-0041

Facsimile No: (202) 362-2640
rrichardson@odonoghuelaw.com

Case 1:18-cV-0067O-A.]T-.]FA Document 1 Filed 06/05/18 Page 8 of 8 Page|D# 8

CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing
Complaint has been served by certified mail, as required by
502(h) of the Employee Retirement lncome Security Act of 1974, 29
U.S.C. § 1132(h) this 5U1day of June, 2018 on the following:

The Office of Division Counsel

Associate Chief Counsel (TE/GE) CC: TEGE

Room 4300

1111 Constitution Avenue

Washington, DC 20224

Attention: Employee Plans

Secretary of Labor

200 Constitution Ave., N.W.

Washington, DC 20210

Attention: Assistant Solicitor for
Plan Benefits Security

Mg/A@AW/

John R. Harney, Bar qu'415§0
Counsel for Plaintiff
O'Donoghue & O'Donoghue LLP
5301 Wisconsin Ave., N.W.

Suite 800

Washington, DC 20015
Telephone No.: (202)362-0041
Facsimile No.: (202)362-2640

jharney@odonoghuelaw.com

 

302313¢1

